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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                        CHARLESTON DIVISION

IN RE: ETHICON, INC.,
       PELVIC REPAIR SYSTEM
       PRODUCTS LIABILITY LITIGATION

                                                                                       MDL No. 2327

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THIS DOCUMENT RELATES TO ALL CASES


                                       PRETRIAL ORDER # 17
                (Plaintiff Profile Forms, Plaintiff Fact Sheet, and Defendant Fact Sheets)

           This Order shall govern (1) all cases transferred to this court by the Judicial Panel on

    Multidistrict Litigation, including those cases identified in the original Transfer Order and

    those subsequently transferred as tag-along actions; and (2) all cases directly filed in or

    removed to this MDL. It is ORDERED as follows:

    1.     Plaintiff Profile Form (“PPF”)

           a.     The parties have agreed upon the use of an abbreviated Plaintiff Profile Form

    (“PPF”) (Exhibit 1), including eight (8) releases (Exhibit A to Exhibit 1), attached to this

    Order.1 The PPF shall be completed in each case currently pending in, and in all cases that

    become part of this MDL by virtue of being filed in, removed to, or transferred to this court.

          b.      Each plaintiff in currently filed cases that were a part of this MDL as of the date

of the entry of this Order shall submit a completed PPF to defendants within 60 days of the date

of this Order. In cases filed or transferred after the date of this Order, each plaintiff shall submit a

completed PPF to defendants within 60 days of filing the Short Form Complaint. Every plaintiff

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  The court refers the parties to the court’s website at www.wvsd.uscourts.gov where the PPF (in word and PDF
fillable format) and the releases (in PDF fillable format) are located under “forms” for this MDL.
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is required to provide defendants with a PPF that is substantially complete in all respects,

answering every question in the PPF, even if a plaintiff can answer the question in good faith

only by indicating “not applicable.” The PPF shall be signed by plaintiff under penalty of

perjury. If a plaintiff is suing in a representative or derivative capacity, the PPF shall be

completed by the person with the legal authority to represent the estate or person under legal

disability. Plaintiff spouses with a claim for loss of consortium shall also sign the PPF, attesting

that the responses made to the loss of consortium claim questions in the PPF are true and correct

to the best of his or her knowledge, information and belief, formed after due diligence and

reasonable inquiry.

       c.      A completed PPF shall be considered interrogatory answers under Fed. R. Civ. P.

33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by

the standards applicable to written discovery under Federal Rules 26 through 37. The

interrogatories and requests for production in the PPF shall be answered without objection as to

the question posed in the agreed upon PPF. This section does not prohibit a plaintiff from

withholding or redacting information from medical or other records provided with the PPF

based upon a recognized privilege. If information is withheld or redacted on the basis of

privilege, plaintiff shall provide defendants with a privilege log that complies with Rule 26(b)(5)

simultaneously with the submission of the PPF.

         d.    Contemporaneous with the submission of a PPF, each plaintiff shall provide the

 defendants with hard copies or electronic files of all medical records in their possession or

 control, including, in particular, records that support product identification.

         e.    Contemporaneous with the submission of a PPF, each plaintiff shall also produce

 signed authorizations, which are attached to the PPF and located in PDF fillable format on the


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court’s website, for the release to an identified records collection vendor of medical, insurance,

employment, Medicare/Medicaid, and Social Security records from any healthcare provider,

hospital, clinic, outpatient treatment center, and/or any other entity, institution, agency or other

custodian of records identified in the PPF. The signed authorizations shall be undated and the

recipient line shall be left blank. These blank, signed authorizations constitute permission for a

third party records vendor retained by the parties, to obtain the records specified in the

authorizations from the records custodians. In the event an institution, agency or medical

provider to which a signed authorization is presented refuses to provide responsive records, the

individual plaintiff’s attorney shall attempt to resolve the issue with the institution, agency, or

provider, such that the necessary records are promptly provided. Any records that pertain to

psychiatric related care whether by a psychiatrist or psychologist shall first be available to

counsel for the plaintiff who shall have 10 days to assert a recognized privilege and notify both

the vendor and counsel for the requesting defendant, with an appropriate privilege log. Absent

notification within 10 days of the assertion of such a privilege, the vendor shall then provide

the records to the requesting defendant.

      f.      Each plaintiff shall immediately preserve and maintain, without deletions or

alterations, any content of any personal webpage(s) or social media accounts currently held by

them, including but not limited to, photographs, text, links, messages and other postings or

profile information that is relevant to the subject matter of this litigation. “Social media”

includes, but it not limited to, Facebook, Myspace, Linked In, Friendster, and/or blogs. The

plaintiffs shall preserve this data by downloading it to a suitable storage device, by printing out

copies on paper, or by other means consistent with law and court rules applicable to document

and data preservation.


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         g.   If a plaintiff does not submit a PPF within the time specified in this Order,

 defendants may move immediately to dismiss that plaintiff’s case without first resorting to

 these deficiency cure procedures.

        h.     If defendants receive a PPF in the allotted time but the PPF is not substantially

complete, defendants’ counsel shall send a deficiency letter within 10 days of receipt of a PPF,

as applicable by e-mail and U.S. mail to Plaintiffs’ Co-Lead Counsel and the plaintiffs’

individual representative counsel, identifying the purported deficiencies. Plaintiff shall have

twenty (20) days from receipt of that letter to serve a PPF that is substantially complete in all

respects. This letter shall include sufficient detail for the parties to meet and confer regarding

the alleged deficiencies.

         i.    Any plaintiff who fails to comply with the PPF obligations under this Order may,

 for good cause shown, be subject to sanctions, to be determined by the court, upon motion of

 the defendants.

2.      Plaintiff Fact Sheet (PFS)

         a.    Within 60 days of the entry of a Pretrial Order identifying the Discovery Pool

 Cases, those plaintiffs identified in that Order shall submit a full Plaintiff Fact Sheet (“PFS”),

 in the form to be agreed upon by the parties.

         b.    Contemporaneous with the submission of their PFS, plaintiffs shall provide the

 following categories of information posted by the plaintiff on any social media websites

 identified in the PFS disclosures:

                1)      Photographs and/or videos, if any, posted by the plaintiff which show the

                        plaintiff taking part in physical activity from one year preceding the date

                        of her mesh surgery(ies) through the date of the signing of the PFS and


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                        any comments, posts, or messages made by the plaintiff related to same.

                        “Physical activity” is defined as strenuous physical or recreational

                        activity, such as horseback riding, ice skating, scuba diving, snorkeling,

                        swimming, biking, and hiking;

                2)      Photographs or videos, if any, posted by the plaintiff showing plaintiff in

                        the hospital, at the doctor’s office, or recovering after the date(s) of her

                        mesh surgery(ies) at issue, and any comments, posts, or messages made

                        by the plaintiff related to same;

                3)      Comments, posts or messages, if any, made by the plaintiff regarding

                        mesh product(s) or the surgery(ies) at issue;

                4)      Comments, posts or messages, if any, made by the plaintiff regarding

                        any significant health conditions of the plaintiff, including but not

                        limited to, their gynecologic, pelvic or abdominal condition from one

                        year preceding the date of her surgery(ies) through the date of the

                        signing of the PFS;

                5)      Where plaintiff has alleged emotional injury other than pain and

                        suffering, comments, posts or messages, if any, made by plaintiff

                        regarding the plaintiff’s emotional condition from one year preceding the

                        date of her surgery(ies) through the date of the signing of the PFS; and

                6)      Comments, posts, links, messages or pages, if any, made by the plaintiff

                        concerning the plaintiff’s lawsuit or pelvic mesh litigation in general.

       Plaintiffs pursuing a consortium claim shall likewise produce the information set forth in

1) through 6) above that is posted by either plaintiff on his/her social media website(s) regarding


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the plaintiff in whom the device was implanted.

        The information required to be produced pursuant to 1) through 6) above includes any

otherwise responsive information that may have been marked “private” on the plaintiff’s social

media website(s). Where materials produced pursuant to this section contain private medical or

other information about a non-party, the plaintiff shall redact identifying and/or any other

information pertaining to that non-party.

        c.     If defendants receive a PFS in the allotted time but the PFS is not substantially

complete, defendants’ counsel shall send a deficiency letter within 10 days of receipt of a PFS,

as applicable by e-mail and U.S. mail to the Plaintiffs’ Co-Lead Counsel and the plaintiffs’

individual representative counsel, identifying the purported deficiencies. The plaintiff shall have

twenty (20) days from receipt of that letter to serve a PFS that is substantially complete in all

respects. This letter shall include sufficient detail for the parties to meet and confer regarding

the alleged deficiencies.

        d.     Any plaintiff who fails to comply with the PFS obligations under this Order may,

for good cause shown, be subject to sanctions, to be determined by the court, upon motion of the

defendants.

3.      Defendant Fact Sheet (“DFS”)

         a.    A Defendant Fact Sheet (“DFS”), in the form to be agreed upon by the parties,

 shall be completed only in those cases selected as a subgroup (not to exceed 20 cases) from

 which the final bellwether selection will be made.

         The DFS shall constitute the initial plaintiff – specific discovery of defendants, and no

 plaintiff shall serve upon any defendant interrogatories or requests for production of documents

 that are specific to an individual plaintiff, treating physician, or sales representative prior to


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service of a DFS for that plaintiff.

        b.    Defendants shall submit a substantially completed DFS for each case in the

"subgroup" identified in 3.a above within 45 days after the entry of the Order establishing the

"subgroup" plaintiffs. The DFS shall provide general but comprehensive information

concerning the particular product identified in the PPF, and information specific to each

individual plaintiff selected as a “subgroup” plaintiff, including, for example, documentation

relating to the plaintiff, and defendants’ contact(s) with the physician(s) identified by the

Plaintiff.

        c.    A Completed DFS shall be considered interrogatory answers under Fed. R. Civ.

P. 33 and responses to requests for production under Fed. R. Civ. P.34, and will be governed by

the standards applicable to written discovery under Federal Rules 26 through 37.              The

interrogatories and requests for production in the DFS shall be answered without objection as

to the question as posed in the agreed upon General DFS and Specific DFS. However,

defendants may assert objections relevant to information specific to an individual plaintiff in

the Specific DFS, where appropriate in that case.

        d.    If a defendant fails to timely submit a DFS, or submits within the allotted time a

DFS that is not substantially complete, the Plaintiffs’ Co-Lead Counsel shall send a deficiency

letter within 10 days of receipt of a DFS by e-mail and U.S. mail to a designated Counsel for

that defendant, identifying the purported deficiencies. This letter shall include sufficient detail

for the parties to meet and confer regarding the alleged deficiencies. Defendant shall have

twenty (20) days from receipt of that letter to serve a DFS that is substantially complete in all

respects. Should a defendant fail to cure the deficiencies identified and fail to provide responses

that are substantially complete in all respects within twenty (20) days of service of the


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 deficiency letter, plaintiff may move for appropriate relief under Federal Rule of Civil

 Procedure 37. Any such filing shall be served on Lead Counsel for that defendant, with any

 response to such filing to be submitted within ten (10) days following the date of service. Any

 such filing should include the efforts the plaintiffs made to meet and confer regarding the

 alleged deficiencies in the DFS and failure to cure.

        e.     A defendant that fails to comply with the DFS obligations under this Order may

 be subject, for good cause shown, to sanctions, to be determined by the court, including those

 sanctions set forth in Fed. R. Civ. P. 37.

       The Court DIRECTS the Clerk to file a copy of this order in 2:12-md-2327 and it shall

apply to each member related case previously transferred to, removed to, or filed in this district,

which includes counsel in all member cases up to and including civil action number 2:12-cv-

06168. In cases subsequently filed in this district, a copy of the most recent pretrial order will be

provided by the Clerk to counsel appearing in each new action at the time of filing of the

complaint. In cases subsequently removed or transferred to this court, a copy of the most recent

pretrial order will be provided by the Clerk to counsel appearing in each new action upon

removal or transfer. It shall be the responsibility of the parties to review and abide by all pretrial

orders previously entered by the court. The orders may be accessed through the CM/ECF system

or the court=s website at www.wvsd.uscourts.gov.

                                        ENTER:        October 4, 2012




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